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                          Exhibit 9
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    From:            Kramer, Alexander (CRM)
    To:              New, Jonathan B.; Lunkenheimer, Kurt (USAFLS)
    Cc:              Barr, Jonathan R.; Rivkin, David; Wangsgard, Kendall E.; Neil M. Schuster; Joseph Schuster
    Subject:         RE: US v. Saab
    Date:            Friday, June 24, 2022 11:53:00 AM
    Attachments:     image001.png
                     image002.png
                     image003.png
                     image004.png
                     LOC gaceta oficial 26 abril 2018.pdf
                     image005.png


    Jon,

    Thank you for providing the letter. We will review with our supervisors and others at DOJ. As an
    initial question, are there any time limitations to your requests?

    Additionally, thank you for providing the link to the Gaceta. We have seen versions located at the
    two websites listed below. Further, we received the attached copy of the Gaceta as it is maintained
    at the US Library of Congress. Have a good weekend.

    http://spgoin.imprentanacional.gob.ve/cgi-win/be_alex.cgi?
    Documento=T028700024419/0&Nombrebd=spgoin&CodAsocDoc=2866&t04=1&t05=png&TipoDoc
    =GCTOF&Sesion=1626795945

    http://historico.tsj.gob.ve/gaceta_ext/abril/2642018/E-2642018-5246.pdf#page=1

    Regards,
    Alex

    Alexander J. Kramer




    From: New, Jonathan                           >
    Sent: Thursday, June 23, 2022 7:35 PM
    To: Kramer, Alexander (CRM)                                  >; Lunkenheimer, Kurt (USAFLS)
                                  >
    Cc: Barr, Jonathan R.                     >; Rivkin, David <                       >; Wangsgard,
    Kendall E.                            >; Neil M. Schuster <                          >; Joseph
    Schuster <                               >
    Subject: [EXTERNAL] RE: US v. Saab

    Alex,
      Please see the attached letter.

      With regard to your request for additional details on the individuals we identified as potential
    witnesses, we will forward them to you as soon as we receive them. We understand that the
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    individuals have begun the process of applying for a visa but we will have to confirm where they are
    in the process and revert to you. Your assistance with this matter is much appreciated.

      As discussed, the relevant Gaceta page can be found at:
    http://spgoin.imprentanacional.gob.ve/cgi-win/be_alex.cgi?
    Documento=T028700024419/0&Nombrebd=spgoin&CodAsocDoc=2866&t04=1&t05=png&Sesion=8
    03364951

      Finally, we appreciate your offer to discuss possible stipulations regarding Mr. Saab’s travel as a
    Special Envoy. We will discuss internally and come back to you with our thoughts.

    Best regards,
    Jon


    Jonathan New
    Partner


    45 Rockefeller Plaza




    bakerlaw.com




    From: Kramer, Alexander (CRM) <                             >
    Sent: Wednesday, June 22, 2022 12:26 PM
    To: New, Jonathan B. <                    >; Lunkenheimer, Kurt (USAFLS)
                                  >
    Cc: Barr, Jonathan R. <                  >; Rivkin, David                             >; Wangsgard,
    Kendall E.                           >; Neil M. Schuster                                >; Joseph
    Schuster                                >
    Subject: RE: US v. Saab


    [External Email: Use caution when clicking on links or opening attachments.]

    Jonathan,

    Thank you for this.




    Separately, following up on our conversation last week, please let us know when/if you’ll be able to
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    provide the Gaceta link regarding Mr. Saab’s alleged appointment as a Special Envoy.




    Regards,
    Alex

    Alexander J. Kramer




    From: New, Jonathan B. <                   >
    Sent: Monday, June 20, 2022 11:55 AM
    To: Lunkenheimer, Kurt (USAFLS) <                              >; Kramer, Alexander (CRM)
    <                             >
    Cc: Barr, Jonathan R.                  >; Rivkin, David <                         >; Wangsgard,
    Kendall E. <                         >
    Subject: [EXTERNAL] US v. Saab
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